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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
                       Plaintiff,               )
                                                )
               v.                               )       Case No. 19 CR 869
                                                )       Judge Robert W. Gettleman
THOMAS OSADZINSKI,                              )
                                                )
                       Defendant.               )

                      MOTION FOR LEAVE TO LIMITED RESPONSE
                    TO GOVERNMENT’S SENTENCING MEMORANDUM

       Defendant, THOMAS OSADZINSKI, by and through his attorneys, STEVEN A.

GREENBERG and JOSHUA G. HERMAN, hereby requests leave to file a limited Response to

the Government’s Sentencing Memorandum (Dkt. #195), and specifically to its unwarranted

disparity argument and authorities.

       In support of this motion, Defendant, through counsel, shows to the Court as follows:

       1.      On November 3, 2022, the government filed its Sentencing Memorandum. (Dkt.

#195). The government makes an unwarranted disparity argument under 18 U.S.C. §3553(a)(6).

The government asserts that the sentences recommended by the defense (60 months) and Probation

(78 months) are “inconsistent, and substantially lower than, other sentences for material support

involving similar conduct and with other material support convictions in this district.” (Dkt. #195,

p. 38). The government then cites five cases.

       2.      Defense counsel respectfully seek leave to respond to the government’s

unwarranted disparity argument and to supply additional authority for the Court’s consideration.

The Court’s scheduling order did not provide for responses to the sentencing memoranda. (Dkt.

#185). But given the potential significance of this sentencing issue and concerns with the



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government’s cited authorities, counsel would respectfully seek leave to file a limited Response to

address this issue and the government’s arguments and authorities. A copy of said Response is

attached hereto as Exhibit A.



       WHEREFORE, counsel respectfully requests leave to file a limited Response to the

government’s unwarranted disparity argument, attached hereto as Exhibit A.



                                                     Respectfully submitted,

                                                     /s/ Steven A. Greenberg
                                                     STEVEN A. GREENBERG,

                                                     /s/Joshua G. Herman
                                                     JOSHUA G. HERMAN
                                                     Attorneys for Defendant

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                               CERTIFICATE OF SERVICE

        Joshua G. Herman, Attorney at Law, hereby certifies that the foregoing was served on
November 10, 2022, in accordance with Fed.R.Crim.P. 49, Fed.R.Civ.P.5., LR 5.5, and the
General Order on Electronic Case Filing (ECF) pursuant to the district court’s system as to ECF
filers.


                                                   /s/ Joshua G. Herman
                                                   JOSHUA G. HERMAN

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